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FAQ

Is CBD from hemp legal?

Our revolutionary Hemp oil cannabidiol (CBD) wellness products are legal to consume both here in the U.S. and in many countries abroad. The United
States currently considers industrial hemp products to be legal as long as they are derived from industrial hemp and not from any part of the plants
categorized under the United States Controlled Substance Act as marijuana. Dixie x's parent company Medical Marijuana, Inc., is a publicly traded
company (see link 8s" pag sao + ) that does not grow, sell or distribute any substances that violate United States Law
or the controlled substance act.

Is the CBD in Dixie X synthetic?

Dixie X Hemp CBD Wellness Products are derived from a Hemp whole plant extract. We are proud to offer this naturally occurring form of high
quality CBD that is not chemically synthesized in a lab.

Dixie X Science Director, Tamar Wise, elaborates:

“The CBD we use is biologically created in hemp plants and our methodology isolates and extracts it. We then infuse this naturally
occurring CBD into our line of hemp products.”

Are Dixie X products made in the USA?

Yes, all Dixie X products are manufactured in our state of the art 27,000 square production facility located in Denver, Colorado. We are proud to be a
company that not only produces a revolutionary line of CBD products, but also does so in the U.S.

Why are your products so expensive?

Dixie X is the first whole Hemp plant based wellness line of products containing CBD. It represents a significant capital investment of millions of
dollars to bring these products to the Continental U.S. and in early 2013, European markets. Red Dice Holdings has a staff of over 25 individuals,
including a team of scientists, engineers and clinical herbalists based in the U.S. working to formulate, develop and produce Dixie X. The technology is
new and by most standards, revolutionary. All of these components, including strict chemical analysis testing regiments provided by a certified ISO 17-
025 testing facility, directly impact the cost to produce Dixie X. We are committed to providing the highest quality products to our customers, balanced
with integrity and sustainability.

What is the Compassionate Care Club and how does it work?

The Dixie X Compassion Care Club offers you the opportunity to receive a 25% discount on your ongoing purchases using our auto order system.
When will you begin shipments outside of the U.S.?

Dixie X willbegin international distribution (including Great Britain) in early 2013. As a courtesy to our international customers, our customer service
staff will gladly coordinate the pickup of orders with most international shipping companies including UPS and FedEx. Advance coordination is
required and the associated shipping fees must be prepaid in advance of shipment by the customer.

Do you lab test your products?

All of our products are tested multiple times during the manufacturing process using both traditional [SO 17 025 chemical testing facilities, as well as
cannabinoid testing facilities, all of which are based in the U.S.

Will Dixie X work for me?
Each individual is unique and has different ailments and concerns they are interested in addressing though the consumption and application of the Dixie

X product lines. While we are not medical professionals and cannot make medical claims, the feedback we have received from a variety of patients and
consumers alike has been overwhelmingly positive. We encourage you to visit our "testimonials" page on our... _ooet website to read more.
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As with any medical condition, we also encourage you to confer with your physician about Dixie X and develop the most appropriate health and
wellness regimen for your specific needs.

Can you disclose revenue projections or sales numbers?

Our company policy is that we don’t discuss sales revenue or statistics outside of what is reported by our parent company, Medical Marijuana, Inc.
(MJNA). Our new Dixie X product line is being received very well across the country by patients and consumers alike. Weencourage you to visit our
website and social media pages on: and to see what customers are saying about

Will Dixie X make me feel “high”?

We are not aware of any psychotropic effects associated with using these products. The complete product line of Dixie X is consistently tested
throughout the formulation and manufacturing process to ensure it meets all local, state and Federal guidelines and laws.

How long will it take me to get my order?

You can expect your order to arrive in 3-5 business days assuming shipment through the United States Postal Service. Orders received by 1:00 MST on
Fridays are shipped the next business day.

What is the difference between CBD from hemp and CBD from medical cannabis?

While the two plants are botanically related, our hemp contains no THC and numerous medical studies have shown CBD to have significant potential
health benefits for a variety of ailments ranging from epilepsy to pain management. Medical cannabis contains THC and may provide relief from
various ailments, however, with a psychotropic effect.

Will Dixie X ever be available in grocery and health food stores?

We are currently in discussion with several major retail chains and hope to offer Dixie X through those retail partners soon.

FOOD AND DRUG ADMINISTRATION (FDA) DISCLOSURE
These statements have not been evaluated by the Food and Drug Administration (FDA). These products and statements are not intended to diagnose,
treat, cure, or prevent any disease.

Dixie X Products

Company Menu

Get to Know Us Make Money with Us Let Us Help You

(coming, soon)

